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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                          FORT PIERCE DIVISION
                     CASE NO. 06-14035-CR-GRAHAM(s)

  UNITED STATES OF AMERICA

                 Plaintiff,
  vs.

  RODELIS CAMPUZANO,

               Defendant.
  ________________________/

        ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

        THIS CAUSE came before the Court upon Defense Counsel’s CJA
  Voucher for Attorney’s Fees.
        THE MATTER was referred to the Honorable Frank J. Lynch United
  States    Magistrate    Judge   on   July   27,   2007.    A   Report   and
  Recommendation was filed on August 9, 2007, recommending payment in
  the amount of $7,034.86 as to voucher number FLS061351. The Court
  has conducted a de novo review of the entire file. Accordingly, it
  is
        ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge Frank J. Lynch, is hereby Adopted
  and Approved in its entirety.

        DONE AND ORDERED in Chambers at Miami, Florida, this 24th
  day of August, 2007.




                                       __________________________
                                       DONALD L. GRAHAM
                                       UNITED STATES DISTRICT JUDGE



  Copied: Randee Golder, P.A.
